        Case 1:08-cr-00076-JBW Document 71-2 Filed 02/08/08 Page 1 of 7 PageID #: 592




                                           Defendant Chart

  Defendant                                        Offense                              RA/CT
CACCIOPOLI    Extortion/Extortion Conspiracy - Trucking                                 RA 16
              Extortion/Extortion Conspiracy - SI Cement Company Profits                RA 24
              Extortion/Extortion Conspiracy - SI Cement Company Sale                   RA 56
              Extortion Conspiracy - Trucking                                           CT 2
              Extortion - Trucking                                                      CT 3
              Extortion Conspiracy - SI Cement Company Profits                          CT 10
              Extortion - SI Cement Company Profits                                     CT 11
              Extortion Conspiracy - SI Cement Company Sale                             CT 79
              Attempted Extortion - SI Cement Company Sale                              CT 80
CALI          Extortion Conspiracy - NASCAR Construction Site                           CT 38
              Extortion - NASCAR Construction Site                                      CT 39
CARNEGLIA     Murder/Murder Conspiracy of Albert Gelb                                   RA 1
              Murder of Michael Cotillo                                                 RA 2
              Murder of Salvatore Puma                                                  RA 3
              Marijuana Distribution Conspiracy                                         RA 5
              Murder/Murder Conspiracy of Louis DiBono                                  RA 6
              Robbery/Robbery Conspiracy/Felony Murder of Jose Delgado Rivera           RA 7
              Extortion/Extortion Conspiracy                                            RA 8
              Securities Fraud Conspiracy                                               RA 10
              Robbery/Robbery Conspiracy                                                RA 11
CASSARINO     Extortion/Extortion Conspiracy - SI Cement Company Profits                RA 24
              Theft of Union Benefits/Mail Fraud - Teamsters Local 282                  RA 26
              Extortion/Extortion Conspiracy - NASCAR Site                              RA 38
              Extortion Conspiracy - SI Cement Company Profits                          CT 10
              Extortion - SI Cement Company Profits                                     CT 11
              Theft of Union Benefits Conspiracy - Teamsters Local 282                  CT 12
              Theft of Union Benefits - Teamsters Local 282                             CT 13
              Mail Fraud Conspiracy - Teamsters Local 282                               CT 14
              Mail Fraud - Teamsters Local 282                                          CT 15
              False Statements - Teamsters Local 282                                    CT 16
              Extortion Conspiracy - NASCAR Construction Site                           CT 38
              Extortion - NASCAR Construction Site                                      CT 39
         Case 1:08-cr-00076-JBW Document 71-2 Filed 02/08/08 Page 2 of 7 PageID #: 593




  Defendant                                         Offense                              RA/CT
CEFALU         Extortion/Extortion Conspiracy - SI Cement Company Profits                RA 24
               Extortion/Extortion Conspiracy - NASCAR Construction Site                 RA 38
               Extortion/Extortion Conspiracy - SI Cement Company Sale                   RA 54
               Extortion Conspiracy - SI Cement Company Profits                          CT 10
               Extortion - SI Cement Company Profits                                     CT 11
               Extortion Conspiracy - NASCAR Construction Site                           CT 38
               Extortion - NASCAR Construction Site                                      CT 39
               Extortion Conspiracy - SI Cement Company Sale                             CT 75
               Extortion - SI Cement Company Sale                                        CT 76
J. COROZZO     Cocaine Distribution Conspiracy                                           RA 4
               Extortion/Extortion Conspiracy - SI Cement Company Profits                RA 24
               Extortion/Extortion Conspiracy - SI Cement Company Sale                   RA 54
               Extortion Conspiracy - SI Cement Company Profits                          CT 10
               Extortion - SI Cement Company Profits                                     CT 11
               Extortion Conspiracy - SI Cement Company Sale                             CT 75
               Extortion - SI Cement Company Sale                                        CT 76
       Case 1:08-cr-00076-JBW Document 71-2 Filed 02/08/08 Page 3 of 7 PageID #: 594




 Defendant                                        Offense                                   RA/CT
N. COROZZO   Murder of Robert Areana/Murder Conspiracy of Robert Arena and Thomas Maranga   RA 12
             Murder of Thomas Maranga                                                       RA 13
             Extortion/Extortion Conspiracy - SI Cement Company Profits                     RA 24
             Attempted Extortion/Extortion Conspiracy - Pump Truck                          RA 30
             Attempted Extortion/Extortion Conspiracy - Construction List                   RA 32
             Illegal Gambling - Bookmaking                                                  RA 33
             Extortion/Extortion Conspiracy - NASCAR Construction Site                      RA 38
             Extortion/Extortion Conspiracy -Excavation Company                             RA 39
             Extortion/Extortion Conspiracy - Liberty View Harbor Construction Site         RA 44
             Money Laundering/Money Laundering Conspiracy                                   RA 45
             Attempted Extortion/Extortion Conspiracy - SI Recycling                        RA 48
             Extortion/Extortion Conspiracy                                                 RA 49
             Extortion/Extortion Conspiracy - SI Cement Company                             RA 54
             Extortion/Extortion Conspiracy - Cement Powder Deliveries                      RA 55
             Extortion Conspiracy - SI Cement Company Profits                               CT 10
             Extortion - SI Cement Company Profits                                          CT 11
             Extortion Conspiracy - Pump Truck                                              CT 23
             Attempted Extortion - Pump Truck                                               CT 24
             Extortion Conspiracy - Construction List                                       CT 27
             Attempted Extortion - Construction List                                        CT 28
             Illegal Gambling - Bookmaking                                                  CT 29
             Extortion Conspiracy - NASCAR Construction Site                                CT 38
             Extortion - NASCAR Construction Site                                           CT 39
             Extortion Conspiracy - Excavation Company                                      CT 40
             Extortion - Excavation Company                                                 CT 41
             Extortion Conspiracy - Liberty View Harbor Construction Site                   CT 59
             Extortion - Liberty View Harbor Construction Site                              CT 60
             Money Laundering Conspiracy                                                    CT 61
             Money Laundering                                                               CT 62
             Extortion Conspiracy - SI Recycling                                            CT 66
             Attempted Extortion - SI Recycling                                             CT 67
             Extortion Conspiracy                                                           CT 68
             Extortion                                                                      CT 69
             Extortion Conspiracy - SI Cement Company Sale                                  CT 75
             Extortion - SI Cement Company Sale                                             CT 76
             Extortion Conspiracy - Cement Powder Deliveries                                CT 77
             Extortion - Cement Powder Deliveries                                           CT 78
D’AMICO      Extortion/Extortion Conspiracy - SI Cement Company Profits                     RA 24
             Extortion/Extortion Conspiracy - SI Cement Company Sale                        RA 54
             Extortion Conspiracy - SI Cement Company Profits                               CT 10
             Extortion - SI Cement Company Profits                                          CT 11
             Extortion Conspiracy - SI Cement Company Sale                                  CT 75
             Extortion - SI Cement Company Sale                                             CT 76
       Case 1:08-cr-00076-JBW Document 71-2 Filed 02/08/08 Page 4 of 7 PageID #: 595




 Defendant                                              Offense                                                RA/CT
DIMARIA      Securities Fraud Conspiracy                                                                       RA 10
             Extortion/Extortion Conspiracy - SI Cement Company Profits                                        RA 24
             Attempted Extortion/Extortion Conspiracy - Pump Truck                                             RA 30
             Attempted Extortion/Extortion Conspiracy - Construction List                                      RA 32
             Illegal Gambling - Bookmaking                                                                     RA 33
             Bribery of Labor Official/Honest Services Mail Fraud/Embezzlement of Union Assets - Laborers’
             Local 325                                                                                         RA 34
             Extortion/Extortion Conspiracy - NASCAR Construction Site                                         RA 38
             Extortion/Extortion Conspiracy - Excavation Company                                               RA 39
             Extortion/Extortion Conspiracy - Liberty View Harbor Construction Site                            RA 44
             Money Laundering/Money Laundering Conspiracy                                                      RA 45
             Attempted Extortion/Extortion Conspiracy - SI Recycling                                           RA 48
             Extortion/Extortion Conspiracy                                                                    RA 49
             Bribery of Labor Official/ Honest Services Mail Fraud/ Embezzlement of Union Assets - Laborers’
             Local 731                                                                                         RA 50
             Extortion/Extortion Conspiracy - SI Cement Company Sale                                           RA 54
             Extortion/Extortion Conspiracy - Cement Powder Deliveries                                         RA 55
             Extortion Conspiracy - SI Cement Company Profits                                                  CT 10
             Extortion - SI Cement Company Profits                                                             CT 11
             Extortion Conspiracy - Pump Truck                                                                 CT 23
             Attempted Extortion - Pump Truck                                                                  CT 24
             Extortion Conspiracy - Construction List                                                          CT 27
             Attempted Extortion - Construction List                                                           CT 28
             Illegal Gambling - Bookmaking                                                                     CT 29
             Honest Services Mail Fraud - Laborers’ Local 325                                                  CT 30
             Honest Services Mail Fraud Conspiracy - Laborers’ Local 325                                       CT 31
             Embezzlement of Union Assets Conspiracy - Laborers’ Local 325                                     CT 32
             Embezzlement of Union Assets - Laborers’ Local 325                                                CT 33
             Extortion Conspiracy - NASCAR Construction Site                                                   CT 38
             Extortion - NASCAR Construction Site                                                              CT 39
             Extortion Conspiracy - Excavation Company                                                         CT 40
             Extortion - Excavation Company                                                                    CT 41
             Extortion Conspiracy - Liberty View Harbor Construction Site                                      CT 59
             Extortion - Liberty View Harbor Construction Site                                                 CT 60
             Money Laundering Conspiracy                                                                       CT 61
             Money Laundering                                                                                  CT 62
             Extortion Conspiracy - SI Recycling                                                               CT 66
             Attempted Extortion - SI Recycling                                                                CT 67
             Extortion Conspiracy                                                                              CT 68
             Extortion                                                                                         CT 69
             Honest Services Mail Fraud Conspiracy - Laborers’ Local 731                                       CT 70
             Honest Services Mail Fraud - Laborers’ Local 731                                                  CT 71
             Embezzlement of Union Assets Conspiracy - Laborers’ Local 731                                     CT 72
             Embezzlement of Union Assets - Laborers’ Local 731                                                CT 73
             Extortion Conspiracy - SI Cement Company Sale                                                     CT 75
             Extortion - SI Cement Company Sale                                                                CT 76
             Extortion Conspiracy - Cement Powder Deliveries                                                   CT 77
             Extortion - Cement Powder Deliveries                                                              CT 78
        Case 1:08-cr-00076-JBW Document 71-2 Filed 02/08/08 Page 5 of 7 PageID #: 596




  Defendant                                          Offense                                   RA/CT
DRAGONETTI    Extortionate Extension of Credit/ Extortionate Extension of Credit               RA 15
              Conspiracy/Extortionate Collection of Credit/Extortionate Collection of Credit
              Conspiracy
              Extortionate Extension of Credit/Extortionate Extension of Credit                RA 17
              Conspiracy/Extortionate Collection of Credit/Extortionate Collection of Credit
              Conspiracy
              Extortionate Extension of Credit/Extortionate Extension of Credit                RA 18
              Conspiracy/Extortionate Collection of Credit/Extortionate Collection of Credit
              Conspiracy
              Extortionate Extension of Credit Conspiracy                                      RA 19
              Extortionate Extension of Credit Conspiracy                                      RA 22
              Illegal Gambling - Bookmaking                                                    RA 33
              Extortion/Extortion Conspiracy - NASCAR Construction Site                        RA 38
              Extortion/Extortion Conspiracy - Excavation Company                              RA 39
              Extortion/Extortion Conspiracy - Liberty View Harbor Construction Site           RA 44
              Money Laundering/Money Laundering Conspiracy                                     RA 45
              Extortion/Extortion Conspiracy                                                   RA 49
              Illegal Gambling - Joker/Poker Machines                                          RA 51
              Extortion/Extortion Conspiracy - Cement Powder Deliveries                        RA 55
              Extortionate Extension of Credit Conspiracy                                      CT 9
              Illegal Gambling - Bookmaking                                                    CT 29
              Extortion Conspiracy - NASCAR Construction Site                                  CT 38
              Extortion - NASCAR Construction Site                                             CT 39
              Extortion Conspiracy - Excavation Company                                        CT 40
              Extortion - Excavation Company                                                   CT 41
              Extortion Conspiracy - Liberty View Harbor Construction Site                     CT 59
              Extortion - Liberty View Harbor Construction Site                                CT 60
              Money Laundering Conspiracy                                                      CT 61
              Money Laundering                                                                 CT 62
              Extortion Conspiracy                                                             CT 68
              Extortion                                                                        CT 69
              Illegal Gambling - Joker/Poker Machines                                          CT 74
              Extortion Conspiracy - Cement Powder Deliveries                                  CT 77
              Extortion - Cement Powder Deliveries                                             CT 78
FILIPPELLI    Extortion Conspiracy - SI Cement Company Profits                                 CT 10
              Extortion - SI Cement Company Profits                                            CT 11
R. GOTTI      Marijuana Distribution Conspiracy                                                RA 14
              Attempted Murder/Murder Conspiracy                                               RA 23
         Case 1:08-cr-00076-JBW Document 71-2 Filed 02/08/08 Page 6 of 7 PageID #: 597




  Defendant                                           Offense                                   RA/CT
V. GOTTI       Cocaine Distribution Conspiracy                                                  RA 4
               Extortionate Extension of Credit Conspiracy/Extortionate Collection of Credit
               Conspiracy                                                                       RA 9
               Marijuana Distribution Conspiracy                                                RA 14
               Attempted Murder/Murder Conspiracy                                               RA 23
GRILLO         Extortion/Extortion Conspiracy - SI Cement Company Profits                       RA 24
               Attempted Extortion/Extortion Conspiracy - Construction List                     RA 32
               Extortion/Extortion Conspiracy - NASCAR Construction Site                        RA 38
               Extortion Conspiracy - SI Cement Company Profits                                 CT 10
               Extortion - SI Cement Company Profits                                            CT 11
               Extortion Conspiracy - Construction List                                         CT 27
               Attempted Extortion - Construction List                                          CT 28
               Extortion Conspiracy - NASCAR Construction Site                                  CT 38
               Extortion - NASCAR Construction Site                                             CT 39
OUTERIE        Illegal Gambling - Bookmaking                                                    RA 33
               Extortionate Collection of Credit/Extortionate Collection of Credit Conspiracy   RA 35
               Extortionate Collection of Credit/Extortionate Collection of Credit Conspiracy   RA 41
               Extortionate Collection of Credit/Extortionate Collection of Credit Conspiracy   RA 42
               Extortionate Collection of Credit/Extortionate Collection of Credit Conspiracy   RA 43
               Illegal Gambling - Bookmaking                                                    CT 29
               Extortionate Collection of Credit Conspiracy                                     CT 34
               Extortionate Collection of Credit                                                CT 35
               Extortionate Collection of Credit Conspiracy                                     CT 53
               Extortionate Collection of Credit                                                CT 54
               Extortionate Collection of Credit Conspiracy                                     CT 55
               Extortionate Collection of Credit                                                CT 56
               Extortionate Collection of Credit Conspiracy                                     CT 57
               Extortionate Collection of Credit                                                CT 58
          Case 1:08-cr-00076-JBW Document 71-2 Filed 02/08/08 Page 7 of 7 PageID #: 598




  Defendant                                            Offense                                           RA/CT
RANIERI         Illegal Gambling - Bookmaking                                                            RA 33
                Extortionate Collection of Credit/Extortionate Collection of Credit Conspiracy           RA 35
                Extortionate Collection of Credit/Extortionate Collection of Credit Conspiracy           RA 41
                Extortionate Collection of Credit/Extortionate Collection of Credit Conspiracy           RA 42
                Extortionate Collection of Credit/Extortionate Collection of Credit Conspiracy           RA 43
                Extortionate Collection of Credit/Extortionate Collection of Credit Conspiracy           RA 46
                Extortionate Collection of Credit                                                        RA 47
                Illegal Gambling - Bookmaking                                                            CT 29
                Extortionate Collection of Credit Conspiracy                                             CT 34
                Extortionate Collection of Credit                                                        CT 35
                Extortionate Collection of Credit Conspiracy                                             CT 53
                Extortionate Collection of Credit                                                        CT 54
                Extortionate Collection of Credit Conspiracy                                             CT 55
                Extortionate Collection of Credit                                                        CT 56
                Extortionate Collection of Credit Conspiracy                                             CT 57
                Extortionate Collection of Credit                                                        CT 58
                Extortionate Collection of Credit Conspiracy                                             CT 63
                Extortionate Collection of Credit                                                        CT 64
                Extortionate Collection of Credit                                                        CT 65
RUGGIERO        Attempted Murder/Murder Conspiracy                                                       RA 23
                Attempted Extortion/Extortion Conspiracy - Construction List                             RA 32
                Extortion Conspiracy - Construction List                                                 CT 27
                Attempted Extortion - Construction List                                                  CT 28
SCOTTO          Extortion/Extortionate Collection of Credit - ADCO Electrical Debt                       RA 29
                Extortion/Extortionate Collection of Credit - El Camino Trucking Debt                    RA 31
                Extortion Conspiracy/Extortionate Extension of Credit/Extortionate Extension of Credit
                Conspiracy - Cracolici Dispute                                                           RA 40
                Extortion - ADCO Electrical Debt                                                         CT 21
                Extortionate Collection of Credit - ADCO Electrical Debt                                 CT 22
                Extortion - El Camino Trucking Debt                                                      CT 25
                Extortionate Collection of Credit - El Camino Trucking Debt                              CT 26
                Extortion Conspiracy - Cracolici Dispute                                                 CT 42
                Attempted Extortion - Cracolici Dispute                                                  CT 43
                Extortionate Extension of Credit Conspiracy - Cracolici Dispute                          CT 44
                Extortionate Extension of Credit - Cracolici Dispute                                     CT 45
